     Case 1:20-cv-00840-BKS-CFH Document 54-1 Filed 09/03/20 Page 1 of 5




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
JANE DOE on behalf of herself and her minor child; JANE
BOE, Sr. on behalf of herself and her minor child; JOHN
COE, Sr. and JANE COE, Sr. on behalf of themselves and
their minor children; JOHN FOE, Sr. on behalf of himself         DECLARATION
and his minor child; JANE GOE, Sr. on behalf of herself and
                                                                 Docket No.   20-CV-0840
her minor child; JANE LOE on behalf of herself and her
                                                                              (BKS) (CFH)
medically fragile child; JANE JOE on behalf of herself and
her medically fragile child; CHILDRENS HEALTH
DEFENSE, and all others similarly situated,


                               Plaintiffs,
               -against-

HOWARD ZUCKER, in his official capacity as
Commissioner of Health for the State of New York;
ELIZABETH RAUSCH-PHUNG, M.D., in her official
capacity as Director of the Bureau of Immunizations at the
New York State Department of Health; the NEW YORK
STATE DEPARTMENT OF HEALTH; THREE VILLAGE
CENTRAL SCHOOL DISTRICT; CHERYL PEDISICH,
acting in her official capacity as Superintendent, Three
Village Central School District; CORINNE KEANE, acting
in her official capacity as Principal Paul J. Gelinas Jr. High
School, Three Village Central School District; LANSING
CENTRAL            SCHOOL           DISTRICT;          CHRIS
PETTOGRASSO, acting in her official capacity as
Superintendent, Lansing Central School District;
CHRISTINE REBERA, acting in her officical capacity as
Principal, Lansing Middle School, Lansing Central School
District; LORRI WHITEMAN, acting in her official
capacity as Principal, Lansing Elementary School, Lansing
Central School District; PENFIELD CENTRAL SCHOOL
DISTRICT; DR. THOMAS PUTNAM, acting in his official
capacity as Superintendent, Penfield Central School
District; SOUTH HUNTINGTON SCHOOL DISTRICT;
DR. DAVID P. BENNARDO, acting in his official capacity
as Superintendent, South Huntington School District; BR.
     Case 1:20-cv-00840-BKS-CFH Document 54-1 Filed 09/03/20 Page 2 of 5




DAVID MIGLIORINO, acting in his official capacity as
Principal, St. Anthony’s High School, South Huntington
School District; ITHACA CITY SCHOOL DISTRICT; DR.
LUVELLE BROWN, acting in his official capacity as
Superintendent, Ithaca City School District; SUSAN
ESCHBACH, acting in her official capacity as Principal,
Beverly J. Martin Elementary School, Ithaca City School
Distrcit; SHENENDEHOWA CENTRAL SCHOOL
DISTRICT; DR L. OLIVER ROBINSON, acting in his
official capacity as Superintendent, Shenedehowa Central
School District; SEAN GNAT, acting in his official capacity
as Principal, Koda Middle School, Shenendehowa Central
School District; ANDREW HILLS, acting in his official
capacity as Principal, Arongen Elementary School,
Shenendehowa Central School District; COXSACKIE-
ATHENS SCHOOL DISTRICT; RANDALL SQUIER,
Superintendent, acting in his official capacity as
Superintendent, Coxsackie-Athens School District; FREYA
MERCER, acting in her official capacity as Principal,
Coxsackie Athens High School, Coxsackie-Athens School
District; ALBANY CITY SCHOOL DISTRICT;
KAWEEDA G. ADAMS, acting in her official capacity as
Superintendent, Albany City School District; MICHAEL
PAOLINO, acting in his official capacity as Principal,
William S. Hackett Middle School, Albany City School
District; and all others similarly situated,

                                Defendants.


       ADAM I. KLEINBERG, an attorney duly admitted to practice law in the State of New

York and within this judicial district, declares that the following statements are true and correct

under the penalty of perjury:

       1.      I am a member of the law firm SOKOLOFF STERN LLP, counsel for defendants

South Huntington Union Free School District s/h/a South Huntington School District, David P.

Bennardo, Three Village Central School District, Cheryl Pedisich, Corinne Keane, Ithaca City


                                                2
     Case 1:20-cv-00840-BKS-CFH Document 54-1 Filed 09/03/20 Page 3 of 5




School District, Dr. Luvelle Brown, Susan Eschbach, Albany City School District, Kaweeda G.

Adams, and Michael Paolino in this action.

       2.        I am familiar with the facts and circumstances related to this action and submit this

declaration in support of defendants’ motion to dismiss plaintiffs’ complaint.

       3.        The following exhibits are relevant to defendants’ motion to dismiss and are

complete and accurate copies of what they purport to be.

       4.        Attached as Exhibit A is a copy of plaintiffs’ Summons and Complaint, filed on

July 27, 2020.

       5.        Attached as Exhibit B is a copy of the Advisory Committee on Immunization

Practices General Recommendations Work Group (“ACIP”) guidelines.

       6.        Attached as Exhibit C is a copy of Appeal of E.Y., N.Y. Commissioner of Education

Decision No. 17,891.

       7.        Attached as Exhibit D is a copy of Appeal of S.G., N.Y. Commissioner of Education

Decision No. 17,830.

       8.        Attached as Exhibit E is a copy of Appeal of a Student with a Disability, N.Y.

Commissioner of Education Decision No. 17,822.

       9.        Attached as Exhibit F is a copy of Appeal of W.G and C.A., N.Y. Commissioner of

Education Decision No. 17,839.

       10.       Attached as Exhibit G is a copy of Appeal of C.H., N.Y. Commissioner of

Education Decision No. 17,832.

       11.       Attached as Exhibit H is a copy of Appeal of a Student with a Disability, N.Y.

Commissioner of Education Decision No. 16,667.




                                                   3
      Case 1:20-cv-00840-BKS-CFH Document 54-1 Filed 09/03/20 Page 4 of 5




        12.     Attached as Exhibit I is a copy of Appeal of McGann, N.Y. Commissioner of

Education Decision No. 12,800.

        13.     Attached as Exhibit J is a copy of Appeal of D.F., N.Y. Commissioner of Education

Decision No. 16,132.

        14.     Attached as Exhibit K is a copy of the June 14, 2019 New York State Department

of Health Statement on Legislation Removing Non-Medical Exemptions from School Vaccination

Requirements which can be found at:

https://www1.nyc.gov/assets/doh/downloads/pdf/dc/removal-of-nonmedical-exemption-

school.pdf.

        15.     Attached as Exhibit L is a copy of the procedures issued by the New York State

Department of Health for the review of requests for medical exemptions which can be found at:

https://www.health.ny.gov/professionals/doctors/conduct/docs/medical_exemption_review_proc

edures_for_schools.pdf

        WHEREFORE, the moving defendants respectfully request that the Court dismiss this

action in its entirety with prejudice as against it, together with such other and further relief as this

Court deems just, equitable, and proper.

Dated: September 3, 2020
       Carle Place, New York                            SOKOLOFF STERN LLP
                                                        Attorneys for Defendants
                                                        South Huntington Union Free School District
                                                        s/h/a South Huntington School District,
                                                        David P. Bennardo, Three Village Central
                                                        School District, Cheryl Pedisich, Corinne
                                                        Keane, Ithaca City School District, Dr.
                                                        Luvelle Brown, Susan Eschbach, Albany
                                                        City School District, Kaweeda G. Adams,
                                                        and Michael Paolino


                                                        ________________________

                                                   4
Case 1:20-cv-00840-BKS-CFH Document 54-1 Filed 09/03/20 Page 5 of 5




                              By:    ADAM I. KLEINBERG
                                     179 Westbury Avenue
                                     Carle Place, NY 11514
                                     (516) 334-4500
                                     File No. 200125




                                 5
